                                       MtlftSMSPS DISTRICT COURT
                                    FOR THE DISTRICT OF MASSACHUSETTS



THEODORE J. GUARRIELLO, Jr., et al.
     Plaintiffs


V.



FAMILY ENDOWMENT PARTNERS, LP;                                               Civil Acfidn No.'14-CV-13351-IT
and LEE D. WEISS
     Defendants


V.

                                                                                    ANSWER OF TRUSTEE
FIDELITY          BROKERAGE   SERVICES,
LLC, and          FIDELITY MANAGEMENT
TRUST COMPANY



Reach and Apply Defendants


Fidelity Brokerage Services, LLC (hereafter "FBS") and Fidelity Management Trust Company (hereafter
"FMTC'X misnamed Fidelity Investments, answers the Summons to Trustee served on July 21, 2017, as
follows:


      1. FES states that on the date of service, it maintained brokerage account no. XXX-XX8964
         registered to Lee D. Weiss containing cash and securities in the amount of $19,534.

      2.   FMTC states that on the date of service, it maintained IRA account no. XXX-XX2110 registered
           to Lee D. Weiss containing cash and securities in the amount of $17,140.

      3. FES and FMTC state that the accounts may fluctuate in value in accordance to market conditions.

      4. FMTC further states that account no. XXX-XX02110 has not been restricted, as it is exempt from
         attachment pursuant to M.G.L. c. 246, § 28.

      5. FES previously restricted brokerage account no. XXX-XX8964 in connection with a previous
           attachment in the matter of Sutow v. Family Endowment Partners, LP, et al, Docket Number
           1784-CV-00501. Therefore, there are no additional funds available for attachment.

Signed under the penalties of perjury to the best of my knowledge and belief, by Joseph P. Bacon,
Agent/Employee ofFES and FMTC this 2-^ day ofJuly, 2017.


             Bacon
            iployee ofFES/FMTC
245 Summer Street
Boston, MA 02210
(617) 563-0775




      Clearing, custody or oriner brokerage services provided by National Financial Services LLC or Fidelity Brokerage Services LLC, Member NYSE, SIPC
                                      PO Box 770001
                                      Cincinnati, OH 45277-0031                                                                    t mv g s r tmm Mrs

                                               CERTIFICATE OF SERVICE


I hereby certiiy that I served a copy of the within Answer on the following parties, by First Class Mail,
postage prepaid, to the following:


Defendant-.

Lee D Weiss
15 Westboume Road
Newton, MA 02459-1617

Plaintiff's Attorney:

Rory C. Flynn, Esq.
Bruch Hanna, LLP
1099 New York Avenue, NW, Suite 500
Washington, DC 20001




Signed this ^ day of July, 2017


        P. Bacon
   ;nt/Employee of FBS/FMTC
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